           Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 1 of 22



                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT


   TOWN OF ENFIELD,

                       Plaintiff,

                 v.

   PURDUE PHARMA L.P., D/B/A                 Civil Action No. ___________
   PURDUE PHARMA (DELAWARE)
   LIMITED PARTNERSHIP; PURDUE               (Removal from:
   PHARMA INC.; THE PURDUE
   FREDERICK COMPANY, INC.;                  Superior Court
   RHODES PHARMACEUTICALS, L.P.;             Judicial District of Hartford
   RHODES TECHNOLOGIES; RHODES               at Hartford)
   PHARMACEUTICALS INC.; RHODES
   TECHNOLOGIES INC.; TEVA
   PHARMACEUTICALS USA, INC.;
   CEPHALON, INC.; JOHNSON &
   JOHNSON; JANSSEN
   PHARMACEUTICALS, INC.; ORTHO-
   MCNEIL-JANSSEN
   PHARMACEUTICALS, INC. N/K/A
   JANSSEN PHARMACEUTICALS,
   INC.; ENDO HEALTH SOLUTIONS
   INC.; ENDO PHARMACEUTICALS,
   INC; ALLERGAN PLC F/K/A
   ACTAVIS PLC; ACTAVIS, INC. F/K/A
   WATSON PHARMACEUTICALS,
   INC.; WATSON LABORATORIES,
   INC.; ACTAVIS LLC; ACTAVIS
   PHARMA, INC. F/K/A WATSON
   PHARMA, INC.; MALLINCKRODT
   LLC; SPECGX LLC; INSYS
   THERAPEUTICS, INC.; MCKESSON
   CORPORATION; CARDINAL
   HEALTH, INC.; AMERISOURCE
   BERGEN DRUG CORPORATION;
   CVS HEALTH CORPORATION; CVS
   PHARMACY, INC.; RITE AID
   CORPORATION; WALGREEN BOOTS
   ALLIANCE, INC.; WALMART, INC.;



707163.1
               Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 2 of 22



   JOHN KAPOOR; RICHARD
   SACKLER; THERESA SACKLER;
   KATHE SACKLER; JONATHAN
   SACKLER; MORTIMER DA.
   SACKLER; BEVERLY SACKLER;
   DAVID SACKLER; AND ILENE
   SACKLER LEFCOURT,

                          Defendants.



                                 NOTICE OF REMOVAL

           In accordance with the Class Action Fairness Act (“CAFA”), 28 U.S.C.

§§ 1332(d)(2), 1441, 1446, and 1453, Defendant Walgreens Boots Alliance, Inc.

(“Walgreens”), with full reservation of defenses, 1 gives notice of the removal of this

action from the Superior Court, Judicial District of Hartford to the United States

District Court for the District of Connecticut. This case is removable under CAFA

because the lawsuit is essentially a class action lawsuit, litigation of this case in

federal court promotes CAFA’s overall purpose, and CAFA’s statutory requirements

are satisfied. In support of removal, Walgreens provides the required “short and

plain statement of the grounds for removal.” 28 U.S.C. § 1446(a); see also Dart

Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 553 (2014) (“By

design, § 1446(a) tracks the general pleading requirement stated in Rule 8(a) of the

Federal Rules of Civil Procedure.”).



        By filing this Notice of Removal, Walgreens Boots Alliance, Inc. does not
           1

concede that it is a proper party to this action and expressly reserves all defenses,
including lack of personal jurisdiction.

                                             2


707163.1
                Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 3 of 22



I.         Nature of Removed Action

           1.      On or about April 29, 2019, Plaintiff Town of Enfield (“Plaintiff”)

returned a Writ, Summons, and Complaint 2 in the Superior Court, Judicial District

of Hartford, commencing a civil action, Docket No: HHD-CV19-6110751-S, for

claims relating to prescription opioid medications. Plaintiff asserts claims against

three defendant groups: manufacturers, distributors, and individual defendants.

Plaintiff brings claims for public nuisance (Count One), violations of the

Connecticut Unfair Trade Practices Act (Counts Two and Three), common law fraud

(Counts Four and Five), negligent misrepresentation (Count Six), negligence (Count

Seven), and unjust enrichment (Count Eight). Plaintiff seeks damages and

equitable relief for alleged injuries to its residents and to itself.

           2.      This action is one of more than 2,000 opioid lawsuits filed by

government entities against manufacturers and distributors of prescription opioid

medications. Plaintiffs in these cases allege that Defendants are liable for the

economic and non-economic injuries suffered by resident doctors, health care

payors, and opioid-addicted individuals, as well as for the costs incurred in

addressing the opioid epidemic.

           3.      On December 5, 2017, the Judicial Panel on Multidistrict Litigation

(“JPML”) created a Multidistrict Litigation in the Northern District of Ohio (“Opiate

MDL”) for cases just like this one—cases in which “cities, counties and


           2   The original Complaint is attached as Exhibit 1.

                                               3


707163.1
                Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 4 of 22



states . . . allege that: (1) manufacturers of prescription opioid medications

overstated the benefits and downplayed the risks of the use of their opioids and

aggressively marketed . . . these drugs to physicians, and/or (2) distributors failed to

monitor . . . and report suspicious orders of prescription opiates.” In re Nat’l

Prescription Opiate Litig., MDL No. 2804, Dkt. No. 1 (Dec. 12, 2017 Transfer Order)

(Exhibit 2). To date, more than 1,850 actions have been transferred to the Opiate

MDL.

           4.      Plaintiff’s 187-page Complaint resembles nearly all of the complaints

filed in the Opiate MDL. The bulk of the allegations in these complaints have been

levied by cities and counties against the manufacturers for alleged deceptive

marketing of prescription opioids from approximately the 1990s to the present. In

fact, the allegations are nearly identical to those asserted in The County of Summit,

Ohio, et. al. v. Purdue Pharma L.P., et al., MDL No. 17-md-2804, Case No. 1:18-op-

45090, a bellwether case that is currently being litigated in the Opiate MDL.

           5.      Plaintiff’s Complaint also resembles each of the following cases which

was removed to federal court under CAFA and transferred to the Opiate MDL:

                   a.    Noble County, Ohio by the Noble County Commissioners v.

                         Cardinal Health, Inc., et al., 2:18-cv-01379-EAS-EPD, Dkt. No. 1

                         (S.D. Ohio, Nov. 6, 2018) (Sargus, C.J.) (removed under CAFA

                         and transferred to the Opiate MDL);




                                               4


707163.1
                Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 5 of 22



                   b.    The People of the State of Illinois and St. Clair County, Illinois v.

                         Teva Pharmaceuticals USA, Inc., et al., 3:18-cv-02077 (Gilbert,

                         J.) (S.D. Ill., Nov. 15, 2018) (same);

                   c.    Meigs County, Ohio v. Cardinal Health, Inc., 2:18-cv-01582-EAS-

                         EPD (S.D. Ohio, Dec. 6, 2018) (Sargus, C.J.) (same);

                   d.    Washington County, Ohio, By its Commissioners, et al. v.

                         Cardinal Health, Inc., et al., 2:18-cv-01706-EAS-KAJ (S.D. Ohio,

                         Dec. 14, 2018) (Sargus, C.J.) (same);

                   e.    County of Carbon v. Purdue Pharma L.P., et al., 2:18-cv-05625

                         (E.D. Pa., Dec. 31, 2018) (Sánchez, C.J.) (same);

                   f.    Delaware County, Pennsylvania v. Purdue Pharma L.P., et al.,

                         2:18-cv-05627 (E.D. Pa., Dec. 31, 2018) (Sánchez, C.J.) (same);

                   g.    Jefferson County v. Dannie E. Williams, M.D., et al., 4:19-cv-

                         00157, Dkt. No. 1 (E.D. Mo., Jan 31, 2019) (White, J.) (same);

                         and

                   h.    The People of the State of Illinois, The People of Union County,

                         and County of Union v. Purdue Pharma L.P., et al., 1:19-cv-2169

                         (N.D. Ill., Mar. 28, 2019) (Walker, J.) (same).

           6.      The thrust of the Complaint is that the “Manufacturer Defendants”

allegedly engaged in a “disinformation campaign to open the market for their

[opiate] drugs, despite the known risk of addiction.” See Compl. ¶ 147. This


                                                 5


707163.1
                Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 6 of 22



campaign, Plaintiff alleges, was launched “for reasons of greed, rather than a

scientific basis, and they continue to misrepresent the safety and efficacy of opioid

treatment for chronic pain.” Id. ¶ 149. As part of this “campaign” Plaintiff alleges

that Manufacturer Defendants “spent hundreds of millions of dollars . . . funding,

assisting, encouraging, and directing [Key Opinion Leaders] to deliver scripted

talks, publish misleading studies, and present CMEs that disseminated false and

incomplete          information   to   medical       practitioners,”   and   “deploying   sales

representatives, who visited doctors and other prescribers, who marketed their

opioids for ‘non-indicated’ or off-label purposes, not approved by the FDA . . . .” Id.

¶ 150.

           7.      As to the “Distributor Defendants,” Plaintiff alleges that they “fail[ed]

to report suspicious orders, reasonably investigate such orders, or halt such orders,

thereby knowingly, recklessly, or negligently making grossly excessive distributions

of opioid drugs into the Town of Enfield, and its surrounding areas, which

threatened (and continues to threaten) the public health and safety of residents of

the Town.” Id. ¶ 406. Plaintiff alleges that, as a result of such activities, each of the

“Big Three” Distributor Defendants “repeatedly and purposefully breached its

duties under state statutory and common law with clear knowledge that a

foreseeable result of its breach would be the diversion of dangerous prescription

opioids for non-medical purposes.” Id. ¶ 407. As for the “National Retail

Pharmacies,” Plaintiff alleges that, “[l]ike the “Big Three Distributor Defendants,”


                                                 6


707163.1
                Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 7 of 22



they are “responsible for preventing diversion of prescriptions opioids into the

illegal market by . . . monitoring and investigating suspicious activities,” but also

have additional duties as “public-facing institutions with direct connections to the

communities they serve.” Id. ¶¶ 417-18.

           8.      Regarding the Individual Defendants, Plaintiff alleges that they

controlled and directed the alleged misconduct engaged in by the Manufacturer

Defendants. See, e.g., Compl. ¶¶ 501, 537-45, 553-59.

           9.      Based on these allegations, Plaintiff claims a litany of injuries to its

residents and to itself stemming from the alleged abuse of addictive opioids. These

include alleged damages in the form of expenses incurred in providing health,

social, and law enforcement services related to opioid addiction and death, as well

as economic losses on behalf of its citizens. Id. at ¶¶ 476-524.

 II.       This Action Is Removable Under CAFA

           10.     Like other prescription opioid lawsuits brought by municipalities,

Plaintiff’s lawsuit is removable under the CAFA, 28 U.S.C. §§ 1332(d) and 1453(b).

That is because: (1) litigation of this case in federal court raises factual and legal

issues of national importance that would further CAFA’s overall purpose; and

(2) each of CAFA’s statutory requirements is satisfied. This Court must assess

jurisdiction under CAFA at the time of removal. 28 U.S.C. § 1332(d).

           A.      This Is an Interstate Case of National Importance




                                               7


707163.1
             Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 8 of 22



           11.   First, this lawsuit is precisely the type of case that Congress intended

to be litigated in federal court. Congress has expressed its intent “to strongly favor

the exercise of federal diversity jurisdiction over class actions with interstate

ramifications.” S. Rep. No. 109-14, at 35 (2005), as reprinted in 2005 U.S.C.C.A.N. 3,

34; see also Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 595 (2013) (“CAFA’s

primary objective” is to “ensur[e] Federal court consideration of interstate cases of

national importance.”) (citations and quotes omitted); accord Dart Cherokee, 135 S.

Ct. at 554.

           12.   This case is one of hundreds of cases filed across the country in which

government entities have sued prescription opioid manufacturers, distributors, and

others for harms arising from the abuse of these drugs. The Opiate MDL has more

than 1,850 cases that are part of a national opioid “crisis” and epidemic allegedly

besieging certain areas of Connecticut and the rest of the country. Plaintiff scripted

its Complaint from complaints in cases already being litigated in the Opiate MDL.

For example, Plaintiff asserts that its claims touch upon issues of national

importance, as well as duties under federal law. See, e.g., Compl. ¶ 1 (referring to an

opioid epidemic “in the United States”); id. ¶ 48 (contending that certain defendants

“engaged in the manufacture, promotion, distribution, and sale of opioids

nationally”); id. ¶ 431 (alleging that certain defendants “fail[ed] to abide by state

and federal law and regulations”); id. at ¶ 562 (alleging that Defendants violated

their obligations and breached their duties under federal law).


                                             8


707163.1
               Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 9 of 22



           13.    As Plaintiff avers, the issues in this case implicate factual and legal

issues that span well beyond State lines and, as a result, should be litigated in

federal court along with the other lawsuits in the Opiate MDL. In denying remand

in another opioid case in the diversity context, the United States District Court for

the Southern District of West Virginia observed the following:

                  Here, where the opioid epidemic is pervasive and
                  egregious, there is at least a possibility of prejudice to the
                  defendants at the hands of a jury drawn exclusively from
                  the very county that is the plaintiff in this suit. A federal
                  jury casts a wider net and is drawn from a division that
                  comprises several counties. All may have an opioid
                  problem, but not one that is specific to the plaintiff
                  county.

City of Huntington v. AmerisourceBergen Drug Corp., No. CV 3:17-01362, 2017

WL 3317300, at *2 (S.D. W. Va. Aug. 3, 2017).

           14.    Plaintiff, like the other plaintiffs in the Opiate MDL, has alleged that

the Distributor Defendants failed to make reports to the Drug Enforcement

Administration (“DEA”). See Compl. ¶ 562 (alleging that Defendants were required

to “halt the suspicious sales of drugs throughout the United States” and “alert the

DEA”). Judge Polster has established protocols for the DEA to submit confidential

and sensitive data from its internal databases for use in the litigation.3




        Less than two months after the MDL was created, Judge Polster convened
           3

the first day-long settlement conference on January 31, 2018. Judge Polster
required attendance by party representatives and their insurers and invited
attendance by Attorneys General and representatives of the DEA and FDA.

                                                9


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 10 of 22



           15.   In short, jurisdiction in this matter is consistent with and promotes the

purpose of CAFA.

           B.    CAFA’s Statutory Requirements Are Met

           16.   To be removed under CAFA, this suit must qualify as a class action,

there must be 100 members of the proposed class, the amount in controversy must

exceed $5 million, and there must be minimum diversity between the parties. 28

U.S.C. §§ 1332(d), 1453. All these requirements are met here.

                 i.    In Substance, This Case Is a Class Action

           17.   CAFA applies here because this case essentially is a class action. While

Plaintiff has not alleged a putative class action on the face of its Complaint, and has

taken pains to contend that there is no federal question presented, this case is

removable because it is “in substance a class action.” Addison Automatics, Inc. v.

Hartford Cas. Ins. Co., 731 F.3d 740, 742 (7th Cir. 2013).

           18.   CAFA provides that “district courts shall have original jurisdiction of

any civil action in which the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interests and costs, and is a class action in which . . . any

member of a class of plaintiffs is a citizen of a State different from any defendant.”

28 U.S.C. § 1332(d)(2); see also Blockbuster, Inc. v. Galeno, 472 F.3d 53, 56 (2d Cir.

2006) (recognizing that “CAFA amends the diversity statute . . . to confer original

federal jurisdiction over any class action involving (1) 100 or more class members,

(2) an aggregate amount in controversy of at least $5,000,000 . . . , and (3) minimal


                                             10


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 11 of 22



diversity, i.e., where at least one plaintiff and one defendant are citizens of different

states.”). CAFA “calls upon federal district court judges to look beyond the face of a

complaint when determining whether federal jurisdiction exists over a matter that

appears to be a class action in all but name.” W. Virginia ex rel. McGraw v. Comcast

Corp., 705 F. Supp. 2d 441, 452 (E.D. Pa. 2010) (holding defendant properly

removed action brought by the State of West Virginia against Comcast under CAFA

because subscribers were the real parties in interest); see also Bullard v. Burlington

N. Santa Fe Ry. Co., 535 F.3d 759, 762 (7th Cir. 2008) (“[L]itigation counts as a

class action if it is either filed as a representative suit or becomes a ‘mass action’ at

any time.”).

           19.   CAFA defines a “class action” as “any civil action filed under rule 23 of

the Federal Rules of Civil Procedure or similar state statute or rule of judicial

procedure authorizing an action to be brought by 1 or more representative persons

as a class action.” 28 U.S.C. § 1332(d)(1)(B). Consistent with Congress’s overall

objective in favoring federal diversity jurisdiction over class actions with interstate

ramifications, “the definition of ‘class action’ is to be interpreted liberally. Its

application should not be confined solely to lawsuits that are labelled ‘class

actions’ . . . . Generally speaking, lawsuits that resemble a purported class action

should be considered class actions for the purpose of applying these provisions.”

S. Rep. No. 109-14, at 35 (2005), as reprinted in 2005 U.S.C.C.A.N. 3, 34 (emphasis

added).


                                             11


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 12 of 22



           20.   Thus, where a lawsuit “resembl[es] a class action” by asserting claims

both individually and on behalf of others, CAFA removal has been found proper.

Badeaux v. Goodell, 358 F. Supp. 3d 562, 567 (E.D. La. 2019). Courts have refused

to “prioritize a complaint’s use of magic words over its factual allegations,” and have

held that CAFA jurisdiction exists even where the complaint “does not seek class

certification” or “omits reference to” a state statute “analogous to Rule 23.” Williams

v. Employers Mut. Cas. Co., 845 F.3d 891, 900-01 (8th Cir. 2017); see also Dart

Cherokee, 135 S. Ct. at 554 (“[N]o antiremoval presumption attends cases invoking

CAFA, which Congress enacted to facilitate adjudication of certain class actions in

federal court”); Badeaux, 358 F. Supp. 3d, 567 (“A lawsuit resembling a class action

will not escape CAFA jurisdiction simply because it omits the words ‘class action’ or

does not include the state rule or statute under which it proceeds as a class

action.”).

           21.   Here, Plaintiff is acting as a representative for a class of residents who

were allegedly harmed, either directly or indirectly, by Defendants’ purported

misconduct. Plaintiff alleges that Defendants have inflicted both economic and non-

economic injuries on their individual residents.

           22.   Plaintiff’s alleged injuries derive from its residents’ injuries and cannot

be separated from those injuries. Plaintiff seeks to recover costs in providing law

enforcement, medical, and social services for opioid addiction, emergencies, and

overdose deaths, all of which stem from its residents’ alleged opioid abuse and


                                              12


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 13 of 22



addiction. Damages, too—to the extent that there are any attributable to

Defendants—would be a calculation of aggregate damages resulting from individual

instances of opioid addiction and death. For instance, Plaintiff alleges that

Defendants’ alleged scheme harmed “the public health of Americans, Connecticut

residents, and residents of the Town of Enfield.” Compl. ¶ 10; see also, e.g., id. ¶ 352

(“This misconduct caused injury in Enfield by, among other things, killing its

residents . . . .”); id. ¶ 534 (“Each Defendant’s conduct . . . has resulted in significant

and unreasonable interference with the public health, safety, peace, and welfare of

Enfield’s residents.”); id. ¶ 410 (alleging that diversion of prescription drugs

“subject[ed] Americans and Connecticut residents, including residents of the Enfield

community, to grievous harm up to, and including, death by overdose”).

           23.   Plaintiff has expressly brought this action in a representative capacity

on behalf of its residents. See id. ¶ 44.

                 ii.   CAFA’s 100-Member Requirement Is Met

           24.   Plaintiff’s Complaint satisfies CAFA’s 100-member requirement

because the putative class consists of thousands of residents and at least hundreds

injured. See 28 U.S.C. § 1332(d)(5)(B); see also Compl. ¶ 41.

           25.   Here, the Complaint alleges that the Town of Enfield, which “as of the

2010 census” had a population of 44,654, Compl. ¶ 41, “has been struck particularly

hard by the influx of opioid drugs and resulting boom in the number of opioid

addicts,” id. ¶ 489. The number of opioid-related deaths in Enfield has risen from 5


                                             13


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 14 of 22



deaths in 2012 to 20 in 2017. Id. Statewide, “a staggering 917 people in Connecticut

died from drug overdoses in 2016, representing a more than 25% jump from 2015

when 729 people died.” Id. ¶ 485. Accordingly, the potential number of people who

have been or may be affected thus well exceeds the 100-member requirement under

CAFA.

                 iii.   CAFA’s Minimal Diversity Requirements Are Met

           26.   There is minimal diversity between Plaintiff and Defendants under

CAFA. District courts have original jurisdiction of “any civil action in which the

controversy exceeds the sum or value of $5,000,000, exclusive of interests and costs,

and is a class action in which . . . any member of a class of plaintiffs is a citizen of a

State different from any defendant.” 28 U.S.C. § 1332(d)(2). CAFA eliminates the

requirement of complete diversity. Instead, CAFA requires only minimal diversity—

meaning that the parties are diverse if the plaintiff’s citizenship differs from that of

at least one defendant. 28 U.S.C. § 1332(d)(2)(A).

           27.   For purposes of diversity jurisdiction, a political subdivision is a citizen

of the state. See Moor v. Alameda Cty., 411 U.S. 693, 717 (1973) (“[A] political

subdivision of a State . . . is a citizen of the State for diversity purposes.”). A

corporation is “a citizen of every State and foreign state by which it has been

incorporated and of the State or foreign state where it has its principal place of

business.” 28 U.S.C. § 1332(c)(1). For purposes of CAFA, the citizenship of any

unincorporated association, such as limited partnerships and limited liability


                                               14


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 15 of 22



companies, is determined by the entity’s principal place of business and the State

under whose laws it is organized. 28 U.S.C. § 1332(d)(10).

           28.   There is minimal diversity between the parties. Plaintiff Town of

Enfield is a political subdivision of Connecticut. And many of the Defendants are

citizens of States other than Connecticut. To name just a few:

                 a.   Defendants    Endo     Health    Solutions   Inc.   and    Endo

                      Pharmaceuticals Inc. are both corporations organized under the

                      laws of Delaware and both maintain their principal places of

                      business in Malvern, Pennsylvania. They are, accordingly,

                      citizens of Delaware and Pennsylvania.

                 b.   Defendant Teva Pharmaceuticals USA, Inc. is a corporation

                      organized under the laws of Delaware with its principal place of

                      business in North Wales, Pennsylvania. It is, accordingly, a

                      citizen of Delaware and Pennsylvania.

                 c.   Defendant Johnson & Johnson is a corporation organized under

                      the laws of New Jersey with its principal place of business in

                      New Brunswick, New Jersey. It is, accordingly, a citizen of New

                      Jersey.

                 d.   Defendant Insys Therapeutics, Inc. is a corporation organized

                      under the laws of Delaware and its principal place of business is




                                           15


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 16 of 22



                       in Chandler, Arizona. Accordingly, it is a citizen of Delaware

                       and Arizona.

                 e.    Defendant Cardinal Health, Inc. is a corporation organized

                       under the laws of Ohio with its principal place of business in

                       Dublin, Ohio. Accordingly, it is a citizen of Ohio.

                 f.    Defendant Walgreens Boots Alliance, Inc. is a corporation

                       organized under the laws of Delaware with its principal place of

                       business in Deerfield, Illinois. Accordingly, it is a citizen of

                       Delaware and Illinois.

           29.   Because there is diversity of citizenship between at least one plaintiff

and at least one defendant, this action meets the minimal diversity requirement

under Section 1332(d)(2)(A).

                 iv.   The Amount in Controversy Exceeds the Jurisdictional
                       Limit

           30.   The amount in controversy exceeds the jurisdictional threshold under

CAFA. Where, as here, a plaintiff alleges no specific amount of damages, “a

defendant’s notice of removal need include only a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee, 135 S.

Ct. at 554. And, in making such determinations, “the claims of the individual class

members shall be aggregated.” 28 U.S.C. § 1332(d)(6).

           31.   Here, Plaintiff alleges injuries resulting from opioid abuse and

addiction that has allegedly afflicted Plaintiff and its residents with allegations

                                             16


707163.1
               Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 17 of 22



extending as far back as the 1990s. See, e.g., Compl. ¶ 6. Given the extent of the

alleged injuries and time period, the alleged amount in controversy easily exceeds

$5 million.4

III.       Compliance With Procedural Requirements

           32.     Walgreens has satisfied all the procedural requirements for removal

under 28 U.S.C. § 1446 and the District of Connecticut.

           33.     Walgreens is filing this Notice of Removal pursuant to U.S.C. § 1441(a)

in the United States District Court for the District of Connecticut, because the state

court in which the action is pending, the Superior Court, Judicial District of

Hartford, is within this federal judicial district and this division. This Notice is

signed pursuant to Rule 11 of the Federal Rules of Civil Procedure.

           34.     Walgreens was served in this action on April 22, 2019.5 Walgreens is

removing the case within 30 days of that date; therefore, this removal is timely

under 28 U.S.C. § 1446(b). See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.,

526 U.S. 344, 356 (1999).




         The amount in controversy represents only what Plaintiff requests at this
           4

stage in the proceeding. This is not an admission that Plaintiff is entitled to recover
this amount. See, e.g., Plyler v. Whirlpool Corp., No. 08 C 6637, 2012 WL 469883, at
*2 (N.D. Ill. Feb. 13, 2012) (“[A] defendant’s statement in a Notice of Removal
concerning the amount in controversy does not constitute a judicial admission to
plaintiff’s ultimate damage entitlement.”).

           5   A copy of Walgreens’ appearance is attached hereto as Exhibit 3.

                                               17


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 18 of 22



           35.     In accordance with 28 U.S.C. § 1446(a), a copy of “all process,

pleadings, orders, and other documents then on file in the State Court,” are

attached as Exhibit 4.6

           36.     After filing this Notice, in accordance with 28 U.S.C. § 1446(d),

Walgreens will serve a copy of this Notice upon the Plaintiff, and will file a copy of

the Notice with the Clerk of the Superior Court, Judicial District of Hartford.

           37.     For the purposes of removal based on diversity jurisdiction under 28

U.S.C. § 1332(a) and 28 U.S.C. § 1446(b), all Defendants who have been properly

joined and served must consent to removal. Under CAFA, however, “[a] class action

may be removed . . . by any defendant without the consent of all defendants.” 28

U.S.C. 1453(b) (emphasis added).

           38.     Nothing in this Notice of Removal should be interpreted as a waiver or

relinquishment of any Defendant’s right to assert any and all defenses or objections

to the Complaint, including lack of personal jurisdiction. If there are any questions

that arise as to the propriety of removal of this action, Walgreens respectfully

requests the opportunity to submit briefing, argument, and additional evidence as

necessary to support removal, without waiver of its objection to personal

jurisdiction.




           6With
             the exception of the Complaint, which is attached as Exhibit 1, to avoid
duplication as it is voluminous.

                                              18


707163.1
            Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 19 of 22



                                     Conclusion

           WHEREFORE, Walgreens removes this action to this Court for further

proceedings according to law.

Dated: May 22, 2019                            Respectfully submitted,

                                               WALGREENS BOOTS ALLIANCE,
                                               INC.


                                         By: /s/
                                             One of Its Attorneys

                                               Thomas V. Daily(ct034671)
                                               REID AND RIEGE, P.C.
                                               One Financial Plaza
                                               Hartford, CT 06103
                                               Tel: 860.240.1067
                                               Fax: 860.240.1002
                                               tdaily@rrlawpc.com

                                               Lester C. Houtz*
                                               Alex J. Harris*
                                               BARTLIT BECK LLP
                                               1801 Wewatta Street
                                               Denver, CO 80202
                                               Tel: (303) 592-3177
                                               Fax: (303) 592-3140
                                               les.houtz@bartlitbeck.com
                                               alex.harris@bartlitbeck.com

                                               * denotes national counsel who will
                                               seek pro hac vice admission




                                          19


707163.1
               Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 20 of 22



                                CERTIFICATE OF SERVICE

        This is to certify that on this the 22nd day of May, 2019, a copy of the foregoing was
filed electronically. Parties may access this filing through the Court’s CM/ECF system. In
addition, a copy of the foregoing will be served on the following by e-mail (where
available), and first-class mail, postage prepaid.

                                   SERVICE LIST
                      PARTIES WITH APPEARANCES BY COUNSEL

Town of Enfield                                   Rhodes Pharmaceuticals L.P.,
Margaret B. Ferron, Esq.                          Rhodes Technologies,
Scott+Scott Attorneys at Law LLP                  Rhodes Pharmaceuticals Inc.
156 South Main Street                             Rhodes Technologies Inc.
P.O. Box 192                                      Bryan Matthew Abramoske, Esq.
Colchester, CT 06415                              Two Seaport Lane, 10th Floor
mferron@scott-scott.com                           Boston, MA 02210
                                                  babramoske@cetllp.com
Judith S. Scolnick, Esq.
Donald A. Broggi, Esq.                            Teva Pharmaceuticals USA, Inc.
Scott+Scott Attorneys at Law LLP                  Cephalon, Inc.
230 Park Ave., 17th Fl                            Christopher M. Wasil, Esq.
New York, NY 10169                                Morgan Lewis
jscolnick@scott-scott.com                         One State Street
dbroggi@scott-scott.com                           Hartford, CT 06103
                                                  christopher.wasil@morganlewis.com
Purdue Pharma L.P. d/b/a Purdue
 Pharma (Delaware) Limited                        Endo Health Solutions, Inc.
Partnership,                                      Endo Pharmaceuticals, Inc.
Purdue Pharma Inc.,                               Catherine Ann Mohan, Esq.
The Purdue Frederick Company, Inc.                McCarter & English LLP
                                                  CityPlace I
Kim E. Rinehart, Esq.                             185 Asylum St., 36th Fl.
Wiggin & Dana LLP                                 Hartford, CT 06103
P.O. Box 1832                                     cmohan@mccarter.com
New Haven, CT 06508
krinehart@wiggin.com                              Actavis Pharma, Inc. f/k/a Watson
           and                                    Pharma, Inc.
Debra D. O’Gorman, Esq.                           John P. D’Ambrosio, Esq.
Dechert                                           Cowdery & Murphy LLC
1095 Avenue of Americas                           280 Trumbull Street, 22nd Fl.
New York, NY 10036                                Hartford, CT 06103
debra.ogorman@dechert.com                         jdambrosio@cowderymurphy.com




UBM.000/707174.1
               Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 21 of 22



Mallinckrodt LLC                                CVS Health Corporation
SpecGX LLC                                      CVS Pharmacy, Inc.
Brian E. Spears, Esq.                           Paul E. Dwyer, Jr., Esq.
Spears Manning & Martini LLC                    McElroy Deutsch Mulvaney & Carpenter
2425 Post Road, Suite 203                       LLP
Southport, CT 06890                             117 Metro Center Blvd., Suite 1004
bspears@spearsmaning.com                        Warwick, RI 02886
                                                pdwyer@mdmc-law.com
Insys Therapeutics, Inc.
                                                Rite Aid Corporation
Dawn L. Rudenko, Esq.                           Spencer A.G. Curtis, Esq.
Holland & Knight                                Morgan Lewis & Bockius LLP
263 Tresser Blvd., #1400                        One State Street
Stamford, CT 06901                              Hartford, CT 06103
dawn.rudenko@hklaw.com                          spencer.curtis@morganlewis.com

McKesson Corporation                            Walgreens Boots Alliance, Inc.
Patrick M. Noonan, Esq.
Donahue Durham & Noonan PC                      Thomas V. Daily, Esq.
Concept Park                                    Reid and Riege, P.C.
741 Boston Post Road                            One Financial Plaza
Guilford, CT 06437                              Hartford, CT 06103
pnoonan@ddnctlaw.com                            tdaily@rrlawpc.com

AmerisourceBergen Drug                          Walmart, Inc.
Corporation                                     Terri L. Chase, Esq.
David Martin, Esq.                              Jones Day
Cummings & Lockwood                             250 Versey Street
Six Landmark Square                             New York, NY 10281
Stamford, CT 06901                              tlchase@jonesday.com
dmartin@cl-law.com
                                                John Kapoor
Cardinal Health, Inc.                           Kurt M. Mullen, Esq.
Maureen D. Cox, Esq.                            Nixon Peabody
Carmody Torrance Sandak & Hennessey             Exchange Place
LLP                                             53 State Street
P.O. Box 1110                                   Boston, MA 02109
Waterbury, CT 06721                             kmullen@nixonpeabody.com
mcox@carmodylaw.com




UBM.000/707174.1
               Case 3:19-cv-00789-JBA Document 1 Filed 05/22/19 Page 22 of 22



                               NON-APPEARING PARTIES

Johnson & Johnson                                Jonathan Sackler
One Johnson Plaza                                75 Field Point Circle
New Brunswick, NJ 08933                          Greenwich, CT 06830

Janssen Pharmaceuticals, Inc.                    Mortimer Sackler
1125 Trenton-Harbourton Road                     305 W. 19th Street, Apt. 11R
Titusville, NJ 08560                             New York, NY 10011

Ortho-McNeil-Janssen Pharmaceuticals,            Kathe Sackler
Inc.                                             76 Clapboard Hill Road
n/k/a Janssen Pharmaceuticals, Inc.              Westport, CT 06880
1125 Trenton-Harbourton Road
Titusville, NJ 08560                             Ilene Sackler Lefcourt
                                                 146 Central Park West, #12D
Allergan plc f/k/a Actavis plc                   New York, NY 10023
U.S. Administrative Headquarters
5 Giraida Farms                                  Beverly Sackler
Madison, NJ 07940                                60 Field Point Circle
                                                 Greenwich, CT 06830
Watson Laboratories, Inc.
132 Business Center Drive                        Theresa Sackler
Corona, CA 92880                                 980 Fifth Avenue, Apt. 24A
                                                 New York, NY 10075
Actavis LLC
Morris Corporate Center III                      David Sackler
400 Interpace Parkway                            200 E. 66th St., #C
Parsippany, NJ 07054                             New York, NY 10065

Richard Sackler
5310 N. Ocean Dr.
Riviera Beach, FL 33404



                                        /s/ Thomas V. Daily




UBM.000/707174.1
